Case 21-30085-hdh11 Doc 221 Filed 02/23/21                    Entered 02/23/21 15:25:14              Page 1 of 8




    Natalie L. Arbaugh                 David Neier                            Thomas M. Buchanan
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    narbaugh@winston.com
    Attorneys for Christopher Cox

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    In re:                                                     :
                                                               :         Chapter 11
    The National Rifle Association of America, el al.1         :
                                                               :         (Jointly Administered)
                            Debtors.                           :
                                                                         Case No. 21-30085-hdh11

                                 AMENDED NOTICE OF HEARING

             PLEASE TAKE NOTICE that a hearing on Christopher W. Cox’s Motion to (I) to Modify

the Automatic Stay to Allow a Trial-Ready Arbitration to Proceed Against the National Rifle

Association of America, and (II) for Related Relief (Dkts. 63 & 75) has been rescheduled for

Wednesday, April 14, 2021, at 11:30 a.m. (CDT) before the Honorable Harlin D. Hale, United

States Bankruptcy Judge for the Northern District of Texas, 1100 Commerce Street, 14th Floor,

Courtroom #3, Dallas, Texas 75242.




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
Case 21-30085-hdh11 Doc 221 Filed 02/23/21     Entered 02/23/21 15:25:14      Page 2 of 8




Dated: February 23, 2021                    Respectfully submitted,

                                            WINSTON & STRAWN LLP

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                                            Attorneys for Christopher Cox




                                        2
Case 21-30085-hdh11 Doc 221 Filed 02/23/21              Entered 02/23/21 15:25:14          Page 3 of 8




                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 23, 2021, I caused a true and correct copy of the foregoing
document to be served upon all parties listed in the attached Master Service List via the Court’s CM/ECF
system, U.S. mail, and/ or email where listed.

                                                /s/ David Neier
Case 21-30085-hdh11 Doc 221
                        215 Filed 02/23/21         Entered 02/23/21 15:25:14
                                                                    13:47:04      Page 4
                                                                                       2 of 8
                                                                                            6




                          In re: Sea Girt LLC - Case No. 21-30080
              In re: National Rifle Association of America - Case No. 21-30085

                                  MASTER SERVICE LIST

                                   Debtor/Debtor’s Counsel


 National Rifle Association of America          Neligan LLP
 11250 Waples Mill Road                         Attn: Patrick J. Neligan
 Fairfax, VA 22030                                      Douglas J. Buncher
                                                        John D. Gaither
                                                325 N. St. Paul, Suite 3600
                                                Dallas, TX 75201
                                                Email: pneligan@neliganlaw.com
                                                        dbuncher@neliganlaw.com
                                                        jgaither@neliganlaw.com
 Sea Girt LLC
 11250 Waples Mall Road
 Fairfax, VA 22030

                                         U.S. Trustee

 Office of the United States Trustee
 Attn: Lisa Young
 Earle Cabell Federal Building
 1100 Commerce Street, Room 976
 Dallas, TX 75242

                                       Secured Creditors

 Atlantic Union Bank
 Attn: Andrew Kalin
 1800 Robert Fulton Drive, Suite 100
 Reston, VA 20191
 Email: andrew.kalin@atlanticunionbank.com




90324v1
Case 21-30085-hdh11 Doc 221
                        215 Filed 02/23/21      Entered 02/23/21 15:25:14
                                                                 13:47:04     Page 5
                                                                                   3 of 8
                                                                                        6




                 Counsel For Official Committee of Unsecured Creditors


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 Scott P. Drake
 Laura L. Smith
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 laura.smith@nortonrosefulbright.com
 scott.drake@nortonrosefulbright.com
 nick.hendrix@nortonrosefulbright.com



                              20 Largest Unsecured Creditors

 Ackerman McQueen, Inc.                      Membership Marketing Partners LLC
 1601 Northwest Expressway                   11250 Waples Mill Road, Suite 310
 Oklahoma City, OK 73118-1438                Fairfax, VA 22030

 Gould Paper Corporation                     Infocision Management Corp.
 Attn: Warren Connor                         325 Springside Drive
 99 Park Avenue, 10th Floor                  Akron, OH 44333
 New York, NY 10016

 Under Wild Skies                            Valtim Incorporated
 c/o Dycio & Biggs                           P.O. Box 114
 10533 Main Street                           Forest, VA 24551
 Fairfax, VA 22030

 Quadgraphics                                Communications Corp of America
 N63W23075 Hwy. 74                           Attn: Ken Bentley
 Sussex, WI 53089                            13129 Airpark Drive, Suite 120
                                             Elkwood, VA 22718

 Membership Advisors Public REL              Salesforce.Com, Inc.
 11250 Waples Mill Road, Suite 310           One Mark St. – The Landmark, Suite 300
 Fairfax, VA 22030                           San Francisco, CA 94105

 Mercury Group                               Speedway Motorsports, Inc.
 1601 NW Expressway, Suite 1100              P.O. Box 600
 Oklahoma City, OK 73118                     Concord, NC 28026


90324v1
Case 21-30085-hdh11 Doc 221
                        215 Filed 02/23/21         Entered 02/23/21 15:25:14
                                                                    13:47:04      Page 6
                                                                                       4 of 8
                                                                                            6




 Image Direct Group LLC                         Google
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 Frederick, MD 21701                            Mountain View, CA 94043-1351

 TMA Direct, Inc.                               United Parcel Services
 12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
 Manassas, VA 20109                             Philadelphia, PA 19170

 Membership Advisors Fund Raising               Stone River Gear, LLC
 11250 Waples Mill Road, Suite 310              P.O. Box 67
 Fairfax, VA 22030                              Bethel, CT 06801

 Krueger Associates, Inc.                       CDW Computer Centers, Inc.
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 Aston, PA 19014                                Chicago, IL 60675

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90324v1
Case 21-30085-hdh11 Doc 221
                        215 Filed 02/23/21   Entered 02/23/21 15:25:14
                                                              13:47:04     Page 7
                                                                                5 of 8
                                                                                     6




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90324v1
Case 21-30085-hdh11 Doc 221
                        215 Filed 02/23/21   Entered 02/23/21 15:25:14
                                                              13:47:04        Page 8
                                                                                   6 of 8
                                                                                        6




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